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United States District Court
for the District of Colorado

 

CAl\/lELBACK GROUP,
a Colorado corporation,

PLNNT|FF(S), CASE NO. 06-cv-00096 RPM-OES

ANSWER AND COUNTERCLA|NI

BEN TURNAGE, DELL C/~\PlTAL PARTNERS,
l_.P., a l\/lississippi Limited Partnership, and
HEARTLAND DEVELOPl\/lENT COl\/lPANY,
LLC, a l\/lississippl limited liability corporation,

DEFENDANT(S).

 

 

COl\/lE NOW the Defendants, Dell Capital Partners, L.P. and Heartland
Deve|opment Company, hereinafter (“Defendants”), by and through their counsel, l\/linor
& Brown, P.C., and for their AnsWer state and allege as folloWs:

Defendant Ben Turnage has filed a separate l\/lotion to Dismiss and is not filing
an Answer, nor is he a party to the Counterclaim.

PART|ES

1. Defendants are Without information sufficient to form a belief as to the
truth of the allegations in Paragraph 1, and therefore deny the same.

 

2. Defendants admit the allegations in Paragraph 2.
3. Defendants admit the allegations in Paragraph 3,
4. Defendants admit the allegations in Paragraph 4.
JURISDlCTlON AND VENUE
1. The allegations in Paragraph 1 allege a legal conclusion and no response

is required. The contract speaks for itse|f. Defendants deny the remaining allegations
of Paragraph l.

2. The allegations in Paragraph 2 allege a legal conclusion and no response
is required The contract speaks for itself. Defendants deny the remaining allegations
of Paragraph 2.

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FACTU/-\L ALLEGATlONS

1. The Plaintiff and the Defendants entered into a contract (“Contract")
attached as Exhibit “A” hereto. The contract speaks for itself. Defendants deny the
remaining allegations of Paragraph 1.

2. The contract speaks for itself. Defendants deny the allegations of
Paragraph 2.

3. The contract speaks for itself. Defendants deny the allegations of
Paragraph 3.

4. The contract speaks for itself. Defendants deny the allegations of
Paragraph 4.
5. The contract speaks for itself. Defendants deny the allegations of

Paragraph 5.
6. Defendants deny the allegations of Paragraph 6.
7. Defendants deny the allegations of Paragraph 7.

FIRST CLAll\/l FOR RELlEF
lBreach of Contract)

8. Defendants incorporate by reference their responses to Paragraphs 1
through 7 above, as if fully stated herein.

9. Defendants deny the allegations of Paragraph 9.

10. The contract speaks for itself. Defendants deny the allegations of
Paragraph 10.

11. Defendants deny the allegations of Paragraph 11.

SECOND CLAll\/l FOR RELlEF
(Quantum l\/lerit/Uniust Enrichmentl

12. Defendants incorporate by reference their responses and answers to
Paragraphs 1 through 11 above, as if fully stated herein.

13. Defendants deny the allegations of Paragraph 13.

14. Defendants deny the allegations of Paragraph 14.

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15. Defendants deny the allegations of Paragraph 15.
16. Defendants deny the allegations of Paragraph 16.
17. Defendants deny the allegations of Paragraph 17.

TH|RD CLAll\/l FOR RELIEF
(Fraudulent l\/lisrepresentation)

18. Defendants incorporate by reference their responses to Paragraphs 1
through 17 above, as if fully stated herein.

19. Defendants deny the allegations of Paragraph 19.

20. The contract speaks for itse|f. Defendants deny the allegations of
Paragraph 20.

21. Defendants deny the allegations of Paragraph 21.
22. Defendants deny the allegations of Paragraph 22.
23. Defendants deny the allegations of Paragraph 23.

FOURTH CLAll\/l FGR RELIEF
(Negliqent l\/lisrepresentation)

24. Defendants incorporate by reference their responses to Paragraphs 1
through 23 above, as if fully stated herein.

25. Defendants deny the allegations of Paragraph 25.
26. Defendants deny the allegations of Paragraph 26.

27. The contract speaks for itself. Defendants deny the allegations of
Paragraph 27.

28. The contract speaks for itse|f. Defendants deny the allegations of
Paragraph 28.

29. Defendants deny the allegations of Paragraph 29.

30. Defendants deny the allegations of Paragraph 30.

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SlXTH CLAll\/l FOR RELlEF
(Promisso[y Estogpel)

31. Defendants incorporate by reference their responses to Paragraphs 1
through 30 above, as if fully stated herein.

32. The contract speaks for itself. Defendants deny the allegations of
Paragraph 32.

33. Defendants deny the allegations of Paragraph 33.
34. Defendants deny the allegations of Paragraph 34.

SEVENTH CLAll\/l FOR RELlEF
(Punitive Damages)

35. Defendants incorporate by reference their responses to Paragraphs 1
through 34 above, as if fully stated herein.

36. Defendants deny the allegations of Paragraph 36.
37. Al| allegations in the Complaint not specifically admitted are denied.

ADD|T|ONA|_ DEFENSES

1. Plaintiff’s Complaint fails to state a claim upon Which relief can be granted
2. Plaintiff’s Complaint is barred by its unclean hands.

3. Plaintiff’s Complaint is barred by the statute of limitations

4. Plaintiff’s Complaint is barred by the doctrine of latches.

5. P|aintlff’s Complaint is barred by the doctrine of Waiver and estoppel.

6. Plaintiff’s Complaint is barred by the statute of frauds.

7. Plaintiff’s Complaint is barred because it has not performed all conditions
precedent and required by the contract.

8. Plaintiff breached its fiduciary duties to the Defendants and is not entitled
to the payments claimed.

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9. Plaintiff is estopped from asserting the allegations in its Complaint by
reason of its own acts, omissions, representations and conduct, upon which Defendants
relied to their prejudice and detriment

10. Plaintiff is not entitled to recover punitive or exemplary damages, and any
allegations with respect thereto must be stricken.

11. Plaintiff’s Complaint, in each and every cause of action for relief it
contains, is barred because Plaintlff failed to perform all obligations, conditions,
promises and covenants on its part to be performed under the contract and those
obligations, conditions, promises and covenants have not been excused terminated or
waived by any act or omission of the Defendants.

12. P|aintiff’s Complaint, in each and every cause of action for relief it
contains, is barred because Defendants exercised reasonable care with the conduct
ascribed to them and, as a result, did not make any untruthful, misleading or false
statements to the Plaintiff.

13. P|aintiff’s Complaint, in each and every cause of action for relief it
contains, is barred because the damage caused to the Plaintiff, if any, was proximately
caused by P|aintiff’s own fraud or other bad faith actsl

14. Plaintiff’s Complaint, in each and every cause of action for relief it
contains, is barred because the Defendants’ actions were justified and/or privileged

15. P|aintiff’s Complaint, in each and every cause of action for relief it
contains, is barred because Plaintiff was and is a sophisticated business entity and that
Plaintiff knew, or in the ordinary care, should have known of the risks in the undertaking
in which it engaged but nevertheless and with full knowledge of these risks did
voluntarily consent to assume the risks involved

16. P|aintiff’s Complaint, in each and every cause of action for relief it
contains, is barred because there was no justifiable or actual reliance by the Plaintiff on
any representations or omissions made by the Defendants, if there were any.

17. Plaintiff’s Complaint, in each and every cause of action for relief it
contains, is barred because the contract between the Plaintiff and Defendants was a
fully integrated contract

18. Plaintiff’s Complaint, in each and every cause of action for relief it
contains, is barred because Plaintiff received the full benefit of its bargain.

19. Plaintiff’s Complaint, in each and every cause of action for relief it
contains, is barred by the doctrine of anticipatory repudiation.

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Having fully answered, Defendants request Plaintiff’s Complaint be dismissed
that Plaintiff take nothing by it, and that the Defendants be awarded costs and such
other and further relief as the Court seems just.

COUNTERCLAll\/l

Having fully responded to the Complaint filed by the Plaintiff, and as a further
response thereto, Defendants, pursuant to Rule 13 of the Federal Ru|es of Civil
Procedure, file this counterclaim:

1. Counterclaimants are seeking to join an additional party, Peter Kirn, as a
Counterc|aim Defendant pursuant to F.R.Civ.Pro.13(h).

2. The Court has statutory supplemental jurisdiction over Peter Kirn under
F.R.Civ.Pro.13(h) and F.R.Civ.Pro.19.

3. The Counterclaimants are complying with the service requirements of
F.R.Civ.Pro.4 and 5.

PART|ES

1. Upon information and belief, Counterclaim Defendant Camelback Group is
a Colorado Corporation doing business in Greenwood Village, Colorado.

2. Upon information and belief, Counterc|aim Defendant Peter Kirn is a
resident of the State of Colorado.

3. Counterc|aimant Dell Capital Partners, l_.P. is a l_imited Partnership with
its principal place of business located in Jackson, l\/|ississippi.

4. Counterc|aimant l-leartland Development Company, LLC, is a l_imited
Liabi|ity Company with its principal place of business located in Jackson, l\/lississippi.

FACTUAL ALLEGATIONS

1. On or about October 2004, Counterc|aim Defendant’s principal, Peter Kirn,
hereinafter (“Kirn”) was introduced to Counterclaimants by one Wael Salam (“Salam”).
Salam was working with Counterclaimants as an independent contractor on a full-time
basis to secure financing for various projects. Kirn represented to Salam and
Counterclaimants that he was the principal of Camelback Group and that he had the
expertise and contacts to facilitate the placement of capital for Counterclaimants. Kirn
also represented that he had done many similar placements that were real estate
related and that he was confident in his contacts and his ability to make the placements.

2. Kirn also represented to the Counterclaimants that the larger the initial
funding request, the easier it would be for him to facilitate the placement of the funds.

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3. Kirn also represented to Plaintiffs that he had more experience in real
estate placement and that he would be successful in placing capital with his real estate
contacts.

4. Based on these representations, Counterc|aimants agreed to use
Camelback Group and Kirn to secure financing for a separate energy project.

5. Salam was also engaged by Counterclaimants to secure capital funding.
One of the contacts developed by Salam was David Radman. David Radman sits on
the board of Texans Commercial Credit.

6. ln December 2004, David Radman met informally with Salam and Ben
Turnage, in Dallas. The purpose of the meeting was to introduce David Radman to Ben
Turnage, At that meeting, there were preliminary and general discussions concerning
private placements for real estate and energy projects

7. On approximately January 26, 2005, Salam initiated a formal contact with
David Radman requesting consideration for funding separate real estate project for
Counterclaimants. Thereafter, Salam and David Radman exchanged information
regarding the real estate project and David Radman ultimately presented the project to
the board of Texans Commercial Credit.

8. |n January 2005, Kirn’s contacts for financing of the energy project were
exhausted and none had shown definitive interest in the projectl Kirn represented to
Counterclaimants that he had successfully secured real estate financing and could be of
help on that separate project Counterc|aimants requested that Kirn focus on the real
estate project and use his contacts to secure financing

9. ln January, the Counterclaimants, through Salam, produced a l\/laster
Booklet - Executive Summary (“Summary”) for the real estate project to assist Salam
and Kirn in securing funding for $53 million. This summary was given to Kirn who was
to provide it to his list of contacts. The summary outlined the real estate project and the
capital funding necessary to finance the project, and identified which party had
originated the contract

10. Kirn stated that he was interested in assisting the Counterc|aimants with
this real estate placement but that he required Counterclaimants to sign an
engagement letter, (“contract”). Kirn drafted the contract, dated February 5, 2005,
attached as Exhibit “/-\” to the Complaint and tendered it to the Counterclaimants.
Counterclaimants made one minimal revision to the language in the contract, signed it
and returned it to Kirn.

11. Kirn began to make contacts with his capital financing sources and

contacts for the real estate project, but was unable to secure any placements for
funding. At Kirn’s request, Salam modified th_e Summary by reducing the amount of the

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funding request, which was then given to Kirn to provide to his funding contacts

12. ln l\/lay 2005, Kirn told Salam that he had “tapped out his contacts” and
had no ability to assist the Counterclaimants further with securing funding for the real
estate dea|. Kirn congratulated Salam in securing funding from the “Texans" and had
no further involvement from that point fon/vard.

13. Ultimately, funding for the real estate project was secured through the
original contact of Salam’s, David Radman, as well as from a direct funding source by
Counterclaimants’ principal Ben Turnage in Jackson, l\/lississippi. The ultimate funding
sources for the real estate deal did not originate with either Kirn or Camelback Group.
l\leither Kirn or Camelback had any contact with, knowledge of, or involvement with
Texans Commercial Credit or David Radman, or the local funding source in Jackson,
l\/lississippi.

14. |n August 2005, the real estate project was funded The structure of the
funding that was ultimately consummated was significantly different than the original
Summary or the modified Summaries that were the premise of the agreement with Kirn.

FlRST CLAll\/l OF RELIEF
(Fraudulent l\/lisrepresentation - Peter Kirn)

15. Counterclaimants incorporate by reference paragraphs 1 through 14 of the
Counterclaim, as if fully stated herein.

16. Counterclaim Defendants owe Counterclaimants a duty of good faith, fair
dealing and honesty.

17. Counterclaim Defendant Kirn, on behalf of Camelback Group, represented
to Counterclaimants through their principal Ben Turnage, that he was qualified and
experienced in securing the placement of capital for real estate projects Kirn also
represented that he had made private equity placements and that it was easier to make
such placements if the size of the deal was significant

18. At the time of the representations and when Counterclaimants entered into
the contract with Kirn, Kirn knew that his representations were false.

19. The statements by Kirn were materially false when made and he made
such representations knowing that Camelback Group and Kirn could not honor the
contract as negotiated

20. With the intent that the Counterc|aimants would rely on the

representations Counterclaimants committed funding, time and resources to the
contacts identified by Counterc|aim Defendants as possible funding sources

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21. Counterclaimants were ignorant of the falsity of the representations at the
time they were made because of the business relationship between the parties

22. Counterclaimants had the right to rely on such representations and did so
rely in executing the contract

23. Counterc|aimants through their principal Ben Turnage, reasonably relied
on Kirn’s representations and expected him to secure funding for the private placement
of the real estate project

24. Counterclaimants have been damaged by Kirn’s fraudulent
misrepresentations in an amount to be proven at trial.

SECOND CAUSE OF ACTlOl\l
(Neq|iqent l\/lisrepresentation - Peter Kirn)

25. Counterclaimants incorporate by reference paragraphs 1 through 24 of the
Counterclaim, as if fully stated herein.

26. Kirn, on behalf of Counterclaim Defendant Camelback Group, represented
to Counterclaimants through their principal Ben Turnage, both verbally and in the
contract that he was eminently qualified to secure private placement funding for the real
estate project

27. Kirn, on behalf of Camelback Group, owed the Counterclaimants a duty of
good faith, fair dealing and honesty.

28. Counterclaim Defendant Camelback Group and Kirn, on behalf of
Camelback Group, breached their duties by negligently misrepresenting to
Counterclaimants that they had the expertise and the contacts to secure private
placement funding, both verbally and through the representations in the contract

29. At the time of such verbal representations and upon entering into the
contract Camelback Group and Kirn, on behalf of Camelback Group, knew that their
expertise and contracts were not sufficient to secure the kind of funding required for the
real estate project

30. Counterclaimants reasonably relied upon the Camelback Group and Kirn’s
negligent misrepresentation by entering into the contract

31. Counterclaimants have been damaged by the negligent representations of
Camelback Group and Kirn in an amount to be proven at trial.

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Tl-llRD CAUSE OF ACTlON
(Breach of Contract - Camelback Group)

32. Counterclaimants incorporate by reference paragraphs 1 through 31 of the
Counterclaim, as if fully stated herein.

33. Counterclaim Defendant Camelback Group and Kirn, on behalf of
Camelback Group, breached the contract in one or more of the following particulars:

a) By voluntarily abandoning the contract in l\/lay 2005 by stating that
they had exhausted their funding contacts; and

b) By failing to take any further actions to develop additional funding
sources after l\/lay 2005;

34. Counterclaimants fulfilled their responsibilities under the terms of the
contract with Camelback Group by investing significant monies in facilitating meetings

providing contacts and information to funding sources identified by Camelback Group
and Kirn.

35. The Counterclaim Defendant’s voluntary abandonment of the contract
caused damages to the Counterclaimants in an amount to be proven at trial.

FOURTH CLAll\/l FGR RELlEF
(Breach of Fiduciarv Dutv - Peter Kirn)

36. Counterclaimants incorporate by reference paragraphs 1 through 35 of the
Counterclaim, as if fully stated herein.

37. Counterclaim Defendant Kirn breached his fiduciary duty as the agent of
Counterc|aimants with a duty to secure capital financing for the real estate project by:

a) Failing to honor the terms of the existing contract;

b) Failing to inform the Counterclaimants of his inability to perform the
contract; and

c) Dealing with the Counterclaimants in bad faith.
38. As a direct result of the Counterclaim Defendant’s breach of the fiduciary

duties owed to the Counterclaimants in his capacity as an agent, Counterclaimants
have suffered damages

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WHEREFORE, Plaintiffs pray for relief as follows:

1.

2.

5.

6.

For damages in an amount to be proven at trial;

For an award of pre judgment interest;

For an award of post judgment interest;

For punitive damages in an amount to be proven at trial;
For an award of fees and costs; and

For such further relief as the Court deems just and equitable

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RESPECTFULLY SUBl\/llTTED,

l\/llNCR & BROWN, P.C.

/s/ Kirn L. Ritt;%n<%

kim L. thier, Eéq?#22725

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CERT|FICATE OF SERV|CE

l hereby certify that on the 25th day of January, 2006, l electronically filed the
foregoing with the C|erk of Court using the Cl\/|/ECF system which will send notification
of such filing to the following e-mail address

/S/ kim r_. Ritter z )M

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